 Case 2:13-cv-07010-CAS-AJW Document 31-2 Filed 07/03/14 Page 1 of 57 Page ID #:559



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     ALINA KORSUNSKA
 8
 9                            UNITED STATES DISTRICT COURT

10                       CENTRAL DISTRICT OF CALIFORNIA

11
     ALINA KORSUNSKA,                         )   Case No.: CV13-7010 CAS (AJWx)
12                                            )
                 Plaintiff,                   )
13
                                              )   PLAINTIFF ALINA
14   vs.                                      )   KORSUNSKA’S EVIDENTIARY
15                                            )   APPENDIX
     JEH JOHNSON, Secretary, U.S.             )   ________________________________
16   Department of Homeland Security,         )
17               Federal Defendant.           )   Hearing Date:       July 28, 2014
                                              )   Hearing Time:       10:00 a.m.
18                                            )   Courtroom:          5 – 2nd Floor
19                                            )
                                              )          Hon. Christina A. Snyder
20                                            )          U.S. District Court Judge
21
22
23
24
25
26
27
                               PLAINTIFF’S EVIDENTIARY APPENDIX - 1
 Case 2:13-cv-07010-CAS-AJW Document 31-2 Filed 07/03/14 Page 2 of 57 Page ID #:560



 1         Plaintiff Alina Korsunska, hereby submits the following Evidentiary
 2   Appendix in support of her Opposition to Federal Defendant’s Motion for
 3   Summary Judgment.
 4             EXHIBIT DESCRIPTION
 5                    A Settlement Agreement, dated June 9, 2010.
 6                    B Letter from Plaintiff to DHS-OCR, dated January 17, 2011.
 7                    C DHS-OCR Decision Letter, dated March 8, 2011.
 8                    D Plaintiff’s Formal Complaint, dated August 15, 2011.
 9                    E DHS-OCR Decision, dated December 2, 2011.
10                    F EEOC-OFO Decision, dated May 1, 2012.
11                    G EEOC-OFO Docketing Notification, dated June 20, 2012.
12                    H DHS-OCR Decision, dated June 19, 2012.
13                     I Plaintiff's Appeal to EEOC-OFO, dated July 20, 2012.
14                    J EEOC-OFO Decision, dated November 16, 2012.
15                    K EEOC-OFO Decision, dated June 20, 2013.
16                    L 9 West's Fed. Admin. Practice § 11800.
17
18   DATED: July 3, 2014                         SOUTHWORTH PC
19
20                                               /s/ Terina M. Williams
21                                               TERINA M. WILLIAMS
                                                 Attorney for Plaintiff
22
23
24
25
26
27
                            PLAINTIFF’S EVIDENTIARY APPENDIX - 2
Case 2:13-cv-07010-CAS-AJW Document 31-2 Filed 07/03/14 Page 3 of 57 Page ID #:561




            EXHIBIT A
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                                                                        EXHIBIT A -1
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                                                                           EXHIBIT A -2
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                                                                          EXHIBIT A -3
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                                                                          EXHIBIT A -4
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                                                                          EXHIBIT A -5
Case 2:13-cv-07010-CAS-AJW Document 31-2 Filed 07/03/14 Page 9 of 57 Page ID #:567




            EXHIBIT B
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                                                                       EXHIBIT B-1
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                                                                     EXHIBIT B-2
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                                  #:570




          EXHIBIT C
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                                                                       EXHIBIT C-1
Case 2:13-cv-07010-CAS-AJW Document 31-2 Filed 07/03/14 Page 14 of 57 Page ID
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                                                                       EXHIBIT C-2
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                                                                     EXHIBIT C-3
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                                  #:574




                                                                       EXHIBIT C-4
Case 2:13-cv-07010-CAS-AJW Document 31-2 Filed 07/03/14 Page 17 of 57 Page ID
                                  #:575




                                                                       EXHIBIT C-5
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                                                                      EXHIBIT C-6
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                                  #:577




                                                                      EXHIBIT C-7
Case 2:13-cv-07010-CAS-AJW Document 31-2 Filed 07/03/14 Page 20 of 57 Page ID
                                  #:578




         EXHIBIT D
Case 2:13-cv-07010-CAS-AJW Document 31-2 Filed 07/03/14 Page 21 of 57 Page ID
                                  #:579




                                                                      EXHIBIT D-1
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                                  #:580




                                                                      EXHIBIT D-2
Case 2:13-cv-07010-CAS-AJW Document 31-2 Filed 07/03/14 Page 23 of 57 Page ID
                                  #:581




                                                                      EXHIBIT D-3
Case 2:13-cv-07010-CAS-AJW Document 31-2 Filed 07/03/14 Page 24 of 57 Page ID
                                  #:582




          EXHIBIT E
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                                                                      EXHIBIT E-1
Case 2:13-cv-07010-CAS-AJW Document 31-2 Filed 07/03/14 Page 26 of 57 Page ID
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                                                                      EXHIBIT E-2
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          EXHIBIT F
  Case 2:13-cv-07010-CAS-AJW Document 31-2 Filed 07/03/14 Page 28 of 57 Page ID
                                    #:586

ALINA KORSUNSKA, COMPLAINANT, v. JANET..., EEOC DOC...




                                  EEOC DOC 0120121106 (E.E.O.C.), 2012 WL 1637327

                                U.S. Equal Employment Opportunity Commission (E.E.O.C.)

                                                 Office of Federal Operations

                                    ALINA KORSUNSKA, COMPLAINANT,
                                                   v.
                        JANET NAPOLITANO, SECRETARY, DEPARTMENT OF HOMELAND
                       SECURITY (CITIZENSHIP AND IMMIGRATION SERVICES), AGENCY.

                                                  Appeal No. 0120121106
                                               Agency No. HS-CIS-01541-2011
                                                       May 1, 2012

                                                          DECISION

 *1 Complainant filed a timely appeal with this Commission from the Agency's decision dated December 2, 2011, dismissing
a formal complaint of unlawful employment discrimination in violation of Title VII of the Civil Rights Act of 1964 (Title VII),
as amended, 42 U.S.C. § 2000e et seq.

                                                       BACKGROUND

On August 21, 2011, Complainant, a former employee with the Agency's US CIS California Service Center filed a formal
complaint alleging that the Agency subjected her to discrimination in reprisal for prior protected activity when:
            she discovered an email on July 8, 2011, which had originally been received on May 27, 2011, that
            notified her that she was not selected for a position to which she applied at Social Security Administration
            (SSA) which led her to believe that USCIS California Service Center breached a settlement agreement
            that she entered into with the Agency on June 9, 2010, specifying how references into her previous
            employment would be delivered to potential employers. 1



At the end of a statement provided in the formal complaint, Complainant stated that she lost an employment opportunity in
October 2009, “because [the] Agency fabricated reason for my termination and after that, I was long time unemployed because
[the] Agency violated the terms of the settlement agreement.”

On December 2, 2011, the Agency dismissed the formal complaint pursuant to 29 C.F.R. § 1614.107 (a)(1) for failure to state
a claim. The Agency characterized Complainant's claim as an allegation that unlawful retaliation led to the Agency's failure to
provide her with an appropriate reference led to her non selection for a position with SSA. The Agency noted that Complainant
stated to the EEO Counselor that she was informed by the SSA that no one was hired for the position under the announcement
at issue. Accordingly, the Agency concluded that in view of the fact that the position was not filled, the alleged actions of the
Agency did not subject Complainant to any harm as alleged.

                                                ANALYSIS AND FINDINGS



                                                                                                                EXHIBIT F-1
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ALINA KORSUNSKA, COMPLAINANT, v. JANET..., EEOC DOC...

The Commission determines that the Agency improperly analyzed the instant matter in terms of whether it stated a claim, and
by dismissing it pursuant to 29 C.F.R. § 1614.107(a)(1). A fair reading of the formal complaint and pre-complaint documents
reflects that Complainant alleged breach of a June 9, 2010 settlement agreement, and the Agency should have therefore
processed this matter as a breach claim pursuant to the procedures detailed in 29 § 1614.504(a), instead of dismissing it on
the procedural grounds cited above. Moreover, the Commission cannot presently address the issue of the breach claim, as we
cannot ascertain sufficient information in the record for such a determination.

 *2 Accordingly, the Agency final decision dismissing the formal complaint is REVERSED. The matter, identified as breach
claim, is REMANDED to the Agency for further processing in accordance with the ORDER below.

                                                           ORDER

The Agency is ORDERED to take the following action:

Pursuant to the procedures detailed in 29 C.F.R. § 1614.504(a), the Agency shall investigate Complainant's breach claim
regarding a June 9, 2010 settlement agreement, to determine whether it has complied with this settlement agreement. Within
thirty (30) calendar days of the date that this decision becomes final, the Agency shall issue a determination regarding whether
or not it has complied with the settlement agreement with appeals rights to this Commission.

A copy of the Agency's determination must be sent to the Compliance Officer, as referenced below.

                           IMPLEMENTATION OF THE COMMISSION'S DECISION (K0610)

Compliance with the Commission's corrective action is mandatory. The Agency shall submit its compliance report within
thirty (30) calendar days of the completion of all ordered corrective action. The report shall be submitted to the Compliance
Officer, Office of Federal Operations, Equal Employment Opportunity Commission, P.O. Box 77960, Washington, DC 20013.
The Agency's report must contain supporting documentation, and the Agency must send a copy of all submissions to the
Complainant. If the Agency does not comply with the Commission's order, the Complainant may petition the Commission
for enforcement of the order. 29 C.F.R. § 1614.503(a). The Complainant also has the right to file a civil action to enforce
compliance with the Commission's order prior to or following an administrative petition for enforcement. See 29 C.F.R. §§
1614.407, 1614.408, and 29 C.F.R. § 1614.503(g). Alternatively, the Complainant has the right to file a civil action on the
underlying complaint in accordance with the paragraph below entitled “Right to File A Civil Action.” 29 C.F.R. §§ 1614.407
and 1614.408. A civil action for enforcement or a civil action on the underlying complaint is subject to the deadline stated in
42 U.S.C. 2000e-16(c) (1994 & Supp. IV 1999). If the Complainant files a civil action, the administrative processing of
the complaint, including any petition for enforcement, will be terminated. See 29 C.F.R. § 1614.409.

                        STATEMENT OF RIGHTS - ON APPEAL RECONSIDERATION (M0610)

*3 The Commission may, in its discretion, reconsider the decision in this case if the Complainant or the Agency submits a
written request containing arguments or evidence which tend to establish that:
     1. The appellate decision involved a clearly erroneous interpretation of material fact or law; or

     2. The appellate decision will have a substantial impact on the policies, practices, or operations of the Agency.




                                                                                                                EXHIBIT F-2
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ALINA KORSUNSKA, COMPLAINANT, v. JANET..., EEOC DOC...

Requests to reconsider, with supporting statement or brief, must be filed with the Office of Federal Operations (OFO) within
thirty (30) calendar days of receipt of this decision or within twenty (20) calendar days of receipt of another party's timely
request for reconsideration. See 29 C.F.R. § 1614.405; Equal Employment Opportunity Management Directive for 29 C.F.R.
Part 1614 (EEO MD-110), at 9-18 (November 9, 1999). All requests and arguments must be submitted to the Director, Office
of Federal Operations, Equal Employment Opportunity Commission, P.O. Box 77960, Washington, DC 20013. In the absence
of a legible postmark, the request to reconsider shall be deemed timely filed if it is received by mail within five days of the
expiration of the applicable filing period. See 29 C.F.R. § 1614.604. The request or opposition must also include proof of
service on the other party.

Failure to file within the time period will result in dismissal of your request for reconsideration as untimely, unless extenuating
circumstances prevented the timely filing of the request. Any supporting documentation must be submitted with your request
for reconsideration. The Commission will consider requests for reconsideration filed after the deadline only in very limited
circumstances. See 29 C.F.R. § 1614.604(c).

                                   COMPLAINANT'S RIGHT TO FILE A CIVIL ACTION (R0610)

This is a decision requiring the Agency to continue its administrative processing of your complaint. However, if you wish to file
a civil action, you have the right to file such action in an appropriate United States District Court within ninety (90) calendar
days from the date that you receive this decision. In the alternative, you may file a civil action after one hundred and eighty
(180) calendar days of the date you filed your complaint with the Agency, or filed your appeal with the Commission. If you
file a civil action, you must name as the defendant in the complaint the person who is the official Agency head or department
head, identifying that person by his or her full name and official title. Failure to do so may result in the dismissal of your case
in court. “Agency” or “department” means the national organization, and not the local office, facility or department in which
you work. Filing a civil action will terminate the administrative processing of your complaint.

                                           RIGHT TO REQUEST COUNSEL (Z0610)

 *4 If you decide to file a civil action, and if you do not have or cannot afford the services of an attorney, you may request
from the Court that the Court appoint an attorney to represent you and that the Court also permit you to file the action without
payment of fees, costs, or other security. See Tide VII of the Civil Rights Act of 1964, as amended, 42 U.S.C. § 2000e et
seq.; the Rehabilitation Act of 1973, as amended, 29 U.S.C. §§ 791, 794(c). The grant or denial of the request is within
the sole discretion of the Court. Filing a request for an attorney with the Court does not extend your time in which to file a
civil action. Both the request and the civil action must be filed within the time limits as stated in the paragraph above (“Right
to File a Civil Action”).




                                                    FOR THE COMMISSION:

Carlton M. Hadden
Director
Office of Federal Operations


Footnotes
1      We note that in her formal complaint, Complainant inadvertently identified the date of the settlement agreement as June 9, 2009,
        instead of June 9, 2010.
                                     EEOC DOC 0120121106 (E.E.O.C.), 2012 WL 1637327
                                                                                                                   EXHIBIT F-3
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                                                                     EXHIBIT G-1
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         EXHIBIT H
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                                                                     EXHIBIT H-1
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                                                                     EXHIBIT H-2
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                                                                   EXHIBIT H-3
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                                                                   EXHIBIT H-4
Case 2:13-cv-07010-CAS-AJW Document 31-2 Filed 07/03/14 Page 39 of 57 Page ID
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                                                                    EXHIBIT H-5
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            EXHIBIT I
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                                                                  EXHIBIT I-1
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                                                                    EXHIBIT I-2
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                                                                      EXHIBIT I-3
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                                                                     EXHIBIT I-4
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                                                                     EXHIBIT I-6
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           EXHIBIT J
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                                     #:606

ALINA KORSUNSKA, COMPLAINANT, v. JANET..., EEOC DOC...




                                 EEOC DOC 0520120466 (E.E.O.C.), 2012 WL 5901190

                                U.S. Equal Employment Opportunity Commission (E.E.O.C.)

                                                 Office of Federal Operations

                                    ALINA KORSUNSKA, COMPLAINANT,
                                                   v.
                        JANET NAPOLITANO, SECRETARY, DEPARTMENT OF HOMELAND
                       SECURITY (CITIZENSHIP AND IMMIGRATION SERVICES), AGENCY.

                                                  Request No. 0520120466
                                                  Appeal No. 0120121106
                                               Agency No. HS-CIS-01541-2011
                                                    November 16, 2012

                                                           DENIAL

 *1 Complainant timely requested reconsideration of the decision in Alina Korsunska v. Department of Homeland Security,
EEOC Appeal No. 0120121106 (May 1, 2012). EEOC Regulations provide that the Commission may, in its discretion, grant a
request to reconsider any previous Commission decision where the requesting party demonstrates that: (1) the appellate decision
involved a clearly erroneous interpretation of material fact or law; or (2) the appellate decision will have a substantial impact
on the policies, practices, or operations of the agency. See 29 C.F.R. § 1614.405(b).

In our previous decision, we determined that the Agency had both improperly dismissed Complainant's complaint as well
as mischaracterized her claim. We noted that while the Agency characterized the claim as one of reprisal with regard to a
reference it provided that allegedly led to Complainant's non-selection for employment with another agency, the gravamen of
the claim was that the Agency breached a settlement agreement which addressed how references would be provided to potential
employers. We found that the record was insufficient to determine whether the Agency had breached the settlement agreement,
and remanded the case for the Agency to investigate the breach claim and issue a final determination thereon.

In her request for reconsideration. Complainant argues that she is also raising the claim that the Agency retaliated against her
for her prior EEO activity by providing a negative reference. Complainant argues that the harm to her went beyond the two
non-selections referenced in the previous decision.

We note that that the arguments asserted by Complainant - that the Agency breached the settlement agreement with regard to
employment references, and that the Agency retaliated against her with regard to employment references - present essentially
the same question for determination. If the Agency did not provide the employment references in accordance with the terms
of the settlement agreement, then it is in breach, regardless of the presence or absence of retaliatory motive. If the Agency did
provide references in accordance with the terms of the settlement agreement, then it is not in breach. Therefore, the previous
decision appropriately remanded the case for the Agency to investigate and issue a final determination on Complainant's breach
allegation. 1

We remind Complainant that a “request for reconsideration is not a second appeal to the Commission.” Equal Employment
Opportunity Management Directive for 29 C.F.R. Part 1614 (EEO MD-110) (rev. Nov. 9, 1999), at 9-17; see, e.g., Lopez v.
Dep't of Agriculture, EEOC Request No. 0520070736 (Aug. 20, 2007). Rather, a reconsideration request is an opportunity to

                                                                                                                 EXHIBIT J-1
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ALINA KORSUNSKA, COMPLAINANT, v. JANET..., EEOC DOC...

demonstrate that the previous decision involved a clearly erroneous interpretation of material fact or law; or (2) will have a
substantial impact on the policies, practices, or operations of the Agency. Complainant has not done so here.

 *2 After reviewing the previous decision and the entire record, the Commission finds that the request fails to meet the criteria
of 29 C.F.R. § 1614.405(b), and it is the decision of the Commission to DENY the request. The decision in EEOC Appeal
No. 0120121106 remains the Commission's decision. There is no further right of administrative appeal on the decision of the
Commission on this request.

                                                              ORDER

The Agency is ORDERD to take the following action:

Pursuant to the procedures detailed in 29 C.F.R. § 1614.504(a), the Agency shall investigate Complainant's breach claim
regarding a June 9, 2010, settlement agreement to determine whether it has complied with this settlement agreement. Within
thirty (30) calendar days of the date it receives this decision, the Agency shall issue a determination regarding whether it has
complied with the settlement agreement, together with appeal rights to this Commission.

A copy of the Agency's determination must be sent to the Compliance Officer as referenced below.

                            IMPLEMENTATION OF THE COMMISSION'S DECISION (K0610)

Compliance with the Commission's corrective action is mandatory. The Agency shall submit its compliance report within
thirty (30) calendar days of the completion of all ordered corrective action. The report shall be submitted to the Compliance
Officer, Office of Federal Operations, Equal Employment Opportunity Commission, P.O. Box 77960, Washington, DC 20013.
The Agency's report must contain supporting documentation, and the Agency must send a copy of all submissions to the
Complainant. If the Agency does not comply with the Commission's order, the Complainant may petition the Commission
for enforcement of the order. 29 C.F.R. § 1614.503(a). The Complainant also has the right to file a civil action to enforce
compliance with the Commission's order prior to or following an administrative petition for enforcement. See 29 C.F.R. §§
1614.407, 1614.408, and 29 C.F.R. § 1614.503(g). Alternatively, the Complainant has the right to file a civil action on the
underlying complaint in accordance with the paragraph below entitled “Right to File a Civil Action.” 29 C.F.R. §§ 1614.407
and 1614.408. A civil action for enforcement or a civil action on the underlying complaint is subject to the deadline stated in
42 U.S.C. 2000e-l6(c) (1994 & Supp. IV 1999). If the Complainant files a civil action, the administrative processing of the
complaint, including any petition for enforcement, will be terminated. See 29 C.F.R. § 1614.409.

                               COMPLAINANT'S RIGHT TO FILE A CIVIL ACTION (R0610)

 *3 This is a decision requiring the Agency to continue its administrative processing of your complaint. However, if you wish to
file a civil action, you have the right to file such action in an appropriate United States District Court within ninety (90) calendar
days from the date that you receive this decision. In the alternative, you may file a civil action after one hundred and eighty
(180) calendar days of the date you filed your complaint with the Agency, or filed your appeal with the Commission. If you
file a civil action, you must name as the defendant in the complaint the person who is the official Agency head or department
head, identifying that person by his or her full name and official title. Failure to do so may result in the dismissal of your case
in court. “Agency” or “department” means the national organization, and not the local office, facility or department in which
you work. Filing a civil action will terminate Has administrative processing of your complaint.

                                           RIGHT TO REQUEST COUNSEL (Z0610)


                                                                                                                    EXHIBIT J-2
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ALINA KORSUNSKA, COMPLAINANT, v. JANET..., EEOC DOC...

If you decide to file a civil action, and if you do not have or cannot afford the services of an attorney, you may request from the
Court that the Court appoint an attorney to represent you and that the Court also permit you to file the action without payment
of fees, costs, or other security. See Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C. § 2000e et seq.; the
Rehabilitation Act of 1973, as amended, 29 U.S.C. §§ 791, 794(c). The grant or denial of the request is within the sole discretion
of the Court. Filing a request for an attorney with the Court does not extend your time in which to file a civil action. Both the
request and the civil action must be filed within the time limits as stated in the paragraph above (“Right to File a Civil Action”).




                                                      FOR THE COMMISSION:

Carlton M. Hadden
Director
Office of Federal Operations


Footnotes
1      We note that, in the course of its investigation into the breach allegation, the Agency should consider whether there is evidence of
        retaliatory motive in the actions of any personnel involved in the provision of Complainant's employment references.
                                    EEOC DOC 0520120466 (E.E.O.C.), 2012 WL 5901190

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                                                                                                                          EXHIBIT J-3
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         EXHIBIT K
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ALINA KORSUNSKA, COMPLAINANT, v. JANET..., EEOC DOC...




                                 EEOC DOC 0120131343 (E.E.O.C.), 2013 WL 3279192

                                U.S. Equal Employment Opportunity Commission (E.E.O.C.)

                                                 Office of Federal Operations

                               ALINA KORSUNSKA, COMPLAINANT,
                                             v.
           JANET NAPOLITANO, SECRETARY, DEPARTMENT OF HOMELAND SECURITY, AGENCY.

                                                 Appeal No. 0120131343
                                              Agency No. HS-CIS-01541-2011
                                                     June 20, 2013

                                                          DECISION

 *1 Complainant filed a timely appeal with this Commission from a final decision by the Agency dated June 19, 2012, finding
that it was in compliance with the terms of a June 9, 2010 settlement agreement. See 29 C.F.R. § 1614.402; 29 C.F.R. §
1614.504(b); and 29 C.F.R. §1614.405.

                                                       BACKGROUND

On June 9, 2010, Complainant, a former employee with the Agency's U.S. Citizenship and Immigration (USCIS) California
Service Center, and the Agency entered into a settlement agreement to resolve a matter that had been pursued in the EEO process.

The June 9, 2010 settlement agreement provided, in pertinent part, that;
  1.b. Upon request, the Agency will provide a neutral reference to potential employers, as long as they contact [the designated
  Supervisory Management and Program Analyst (SMPA)], or her replacement, at [the designated telephone number]. [SMPA]
  will give potential employers the Complainant's position title, GS grade at the time she resigned, her salary at the time she
  resigned, her dates of employment, and that her last performance rating was Fully Successful. Then Agency cannot guarantee
  what any other agency employee may say if potential employers contact them. 1



On August 21, 2011, Complainant filed a formal complaint. Therein, Complainant claimed that the Agency subjected her to
discrimination in reprisal for prior EEO activity when:
            she discovered an email on July 8, 2011, which had originally been received on May 27, 2011 that notified
            her that she was not selected for a position to which she applied at Social Security Administration (SSA)
            which led her to believe that USCIS California Service Center breached a settlement agreement that she
            entered into with the Agency on June 9, 2010, specifying how references into her previous employment
            would be delivered to potential employers.



On December 2, 2011, the Agency issued a final decision dismissing the August 21, 2011 formal complaint for failure to state
a claim. Specifically, the Agency characterized Complainant's claim as an allegation that the Agency acted in reprisal against
her by failing to provide her with an appropriate reference led to her non-selection for a position with SSA.

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On appeal, the Commission found that the Agency should have processed Complainant's August 21, 2011 formal complaint as
a breach claim instead of dismissing it on the procedural grounds cited above. The Commission reversed the Agency's dismissal
and remanded the matter to the Agency for further processing. Korsunska v. Department of Homeland Security, EEOC Appeal
No. 0120121106 (May 1, 2012), request for reconsideration, EEOC Request No. 0520120466 (November 16, 2012). Following
the Commission's decision, the Agency processed the remanded claims in accordance with 29 C.F.R. § 1614.108, which is now
the subject of the instant appeal.

 *2 On June 19, 2012, the Agency issued the instant final decision. Therein, the Agency determined that Complainant untimely
raised her breach allegation in which Complainant received SSA notification of her non-selection on May 27, 2011. Specifically,
the Agency found that Complainant did not notify the Agency EEO office of the alleged breach until July 8, 2011, which the
Agency determined was beyond the 30-day limitation period for filing a timely breach claim.

Further, the Agency determined that Complainant did not provide any evidence supporting her allegation that the Agency
breached the subject agreement. Specifically, the Agency noted that Complainant did not provide any evidence showing that
SSA contacted SMPA for a neutral reference; that SMPA provided a non-neutral reference to SSA or any other agency to which
she applied; or that she was in any way aggrieved as a result of the SSA non-selection, particularly that SSA informed her that
the Agency decided not to fill vacancies. Moreover, the Agency stated that in her affidavit, SMPA declared she fully complied
with the terms of the agreement.

                                                 ANALYSIS AND FINDINGS

EEOC Regulation 29 C.F.R. § 1614.504(a) provides that any settlement agreement knowingly and voluntarily agreed to by the
parties, reached at any stage of the complaint process, shall be binding on both parties. The Commission has held that a settlement
agreement constitutes a contract between the employee and the Agency, to which ordinary rules of contract construction apply.
See Herrington v. Dep't of Def., EEOC Request No. 05960032 (December 9, 1996). The Commission has further held that it is
the intent of the parties as expressed in the contract, not some unexpressed intention, that controls the contract's construction.
Eggleston v. Dep't of Veterans Affairs, EEOC Request No. 05900795 (August 23, 1990). In ascertaining the intent of the parties
with regard to the terms of a settlement agreement, the Commission has generally relied on the plain meaning rule. See Hyon O
v. U.S. Postal Serv., EEOC Request No. 05910787 (December 2, 1991). This rule states that if the writing appears to be plain
and unambiguous on its face, its meaning must be determined from the four corners of the instrument without resort to extrinsic
evidence of any nature. See Montgomery Elevator Co. v. Building Eng'g Servs. Co., 730 F.2d 377 (5th Cir. 1984).

In the instant case, we agree with the Agency's determination that Complainant untimely raised her breach claim. The agreement
specifically contained language requiring breach claims to be raised with the Agency's EEO office within 30 days of the alleged
breach. A complainant is at all times responsible for proceeding with her claims whether or not she has a representative. See
29 C.F.R. § 1614.605(e). The record supports a Finding that Complainant determined that the Agency breached the subject
agreement by July 8, 2011, but that she did not raise a breach claim until August 21, 2011. On appeal, Complainant has not
offered any justification for extending the 30-day time limitation.


*3 Accordingly, the Agency's decision is AFFIRMED. 2

                         STATEMENT OF RIGHTS - ON APPEAL RECONSIDERATION (M0610)

The Commission may, in its discretion, reconsider the decision in this case if the Complainant or the Agency submits a written
request containing arguments or evidence which tend to establish that:

                                                                                                              EXHIBIT K-2
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     1. The appellate decision involved a clearly erroneous interpretation of material fact or law; or

     2. The appellate decision will have a substantial impact on the policies, practices, or operations of the Agency.




Requests to reconsider, with supporting statement or brief, must be filed with the Office of Federal Operations (OFO) within
thirty (30) calendar days of receipt of this decision or within twenty (20) calendar days of receipt of another party's timely
request for reconsideration. See 29 C.F.R. § 1614.405; Equal Employment Opportunity Management Directive for 29 C.F.R.
Part 1614 (EEO MD-110), at 9-18 (November 9, 1999). All requests and arguments must be submitted to the Director, Office
of Federal Operations, Equal Employment Opportunity Commission, P.O. Box 77960, Washington, DC 20013. In the absence
of a legible postmark, the request to reconsider shall be deemed timely filed if it is received by mail within five days of the
expiration of the applicable filing period. See 29 C.F.R. § 1614.604. The request or opposition must also include proof of
service on the other party.

Failure to file within the time period will result in dismissal of your request for reconsideration as untimely, unless extenuating
circumstances prevented the timely filing of the request. Any supporting documentation must be submitted with your request
for reconsideration. The Commission will consider requests for reconsideration filed after the deadline only in very limited
circumstances. See 29 C.F.R. § 1614.604(c).

                               COMPLAINANT'S RIGHT TO FILE A CIVIL ACTION (S0610)

You have the right to file a civil action in an appropriate United States District Court within ninety (90) calendar days from
the date that you receive this decision. If you file a civil action, you must name as the defendant in the complaint the person
who is the official Agency head or department head, identifying that person by his or her full name and official title. Failure
to do so may result in the dismissal of your case in court. “Agency” or “department” means the national organization, and not
the local office, facility or department in which you work. If you file a request to reconsider and also file a civil action, filing
a civil action will terminate the administrative processing of your complaint.

                                          RIGHT TO REQUEST COUNSEL (Z0610)

 *4 If you decide to file a civil action, and if you do not have or cannot afford the services of an attorney, you may request
from the Court that the Court appoint an attorney to represent you and that the Court also permit you to file the action without
payment of fees, costs, or other security. See Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C. § 2000e et
seq.; the Rehabilitation Act of 1973, as amended, 29 U.S.C. §§ 791, 794(c). The grant or denial of the request is within
the sole discretion of the Court. Filing a request for an attorney with the Court does not extend your time in which to file a
civil action. Both the request and the civil action must be filed within the time limits as stated in the paragraph above (“Right
to File a Civil Action”).




                                                   FOR THE COMMISSION:

Carlton M. Hadden
Director
Office of Federal Operations


                                                                                                                EXHIBIT K-3
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Footnotes
1      The settlement agreement also provides for the Agency to assure that Complainant's electronic official personnel file reflects
       she resigned for personal reasons for employment with the USCIS effective October 15, 2009, and provide Complainant with a
       Performance Work Plan with an overall rating of Fully Successful. These provisions are not at issue in the instant case.
2      Because we Find that Complainant untimely raised her breach claim, we find it unnecessary to address whether the Agency breached
       provision 1.b. of the settlement agreement.
                                   EEOC DOC 0120131343 (E.E.O.C.), 2013 WL 3279192

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          EXHIBIT L
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§ 11800.Processing the formal complaint—Appeal of dismissals, 9 West's Fed. Admin....




                                              9 West's Fed. Admin. Prac. § 11800

                                              West's Federal Administrative Practice
                                                Database updated July 2014
                                                  Part 22. Civil Rights *
                  Chapter 145. Enforcement of Employment Discrimination Laws Against Federal Employers

 § 11800. Processing the formal complaint—Appeal of dismissals

West's Key Number Digest
West's Key Number Digest, Civil Rights 347
Legal Encyclopedias
C.J.S., Civil Rights §§ 354, 361, 366, 377, 405

  Complainants dissatisfied with the agency's dismissal of all or part of the complaint can immediately appeal from the agency's
  dismissal. Where an appeal from a partial dismissal is filed, and the dismissal is reversed by the EEOC's Office of Federal
  Operations, the matter will be sent back to the agency for completion of the investigation. The time frame for completing the
  investigation of the accepted portion of the complaint will be stayed pending a decision on the appeal. Agencies may, but are
  not required to investigate the accepted portions of the complaint during this time period.
  When, on appeal, the dismissal of a portion of a complaint is upheld but the remainder of the complaint is to be processed
  administratively, the EEOC does not intend to force the complainant to proceed to court on the dismissed portion at that time.
  The complainant can wait until a final decision is issued by the agency or the EEOC on the merits of the remainder of the
  complaint and will have 90 days from receipt of that decision to file in Federal District Court.

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Footnotes
*      Prepared by Frederick K. Grittner of St. Paul, Minnesota, a member of the Minnesota Bar.


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